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                                           U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                      April 19, 2023

VIA ECF
Hon. Analisa Torres
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

       Re:     United States v. Ho Wan Kwok, et. al., S1 23 Cr. 118 (AT)

Dear Judge Torres:

        The Government writes to respectfully request that the Court enter the attached proposed
Protective Order to facilitate the production of discovery in this case. (Ex. A.) Counsel for Kwok
does not object to the entry of a protective order, but objects to one provision of the proposed
Protective Order as explained below. Counsel for Wang has identified two provisions to which
they object.

        The proposed Protective Order is appropriate in this case for several reasons. First, the
Government’s discovery includes financial and personal identifiable information of victims and
third parties. Indeed, the Government intends to produce a significant amount of bank and other
financial records from a variety of sources pertaining to many entities. The Government does not
believe such information should be freely disseminated, as such dissemination could harm the
privacy interests of third parties, as well as interfere with the Government’s ongoing investigation.
Second, as discussed in detail in the Government’s briefing in support of Kwok’s continued
detention, Kwok and his associates are known to obstruct court proceedings. Without appropriate
protections, Kwok and his associates can widely disseminate the Government’s sensitive discovery
materials to interfere with the Government’s ongoing investigation, infringe on third parties’
privacy, and harm victims. Third, and for similar reasons—given that Kwok has previously
threatened witnesses and fomented unrest targeted at court-appointed officials and attorneys—the
Government believes it is appropriate for the protective order to include an option for certain
highly sensitive materials, the disclosure of which could endanger victims, to be marked
“Attorney’s Eyes Only.” The Government does not intend to mark many materials with this
designation and has agreed to discuss with defense counsel potential “Attorney’s Eyes Only”
material before designating it as such.

       As noted, Kwok’s counsel does not object to the entry of a protective order, but Kwok and
Wang’s counsel object to certain provisions of the proposed Protective Order. First, Wang’s
counsel objects to the inclusion of an “Attorney’s Eyes Only” designation on the basis that such
designation prevents counsel from obtaining Wang’s “critical assistance in reviewing,
understanding, and investigating her case.” As noted above, the Government submits it is
important to include this option for victim safety. Second, both Kwok’s and Wang’s counsel object
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to the inclusion of footnote 1, which prohibits prospective lay witnesses from retaining or copying
confidential material. (Any prospective lay witnesses’ counsel may retain confidential material if
deemed necessary by Kwok’s and Wang’s counsel.) The Government believes this restriction is
appropriate because lay witnesses are unlikely to treat sensitive materials with appropriate care.
Moreover, defense counsel has not identified how this restriction interferes with their ability to
defend their clients, and the Government does not believe it does.

        More generally, in the event a specific issue materializes as a result of the Government
designating material as “Attorney’s Eyes Only” or footnote 1, which the parties are unable to
resolve by agreement, the Protective Order allows defense counsel to present the issue to the Court.

       For the foregoing reasons, the Court should enter the proposed Protective Order.



                                                 Respectfully submitted,

                                                 DAMIAN WILLIAMS
                                                 United States Attorney


                                              By: /s/
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Enclosure
